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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


COURTHOUSE NEWS SERVICE,                        *

                      Plaintiffs,               *

                v.                              *       No. 1:22-cv-00548-JRR

                                                *
PAMELA Q. HARRIS, ET AL.,
                      Defendants.               *

      *        *     *      *       *       *       *      *     *     *        *   *

                         DECLARATION OF PAMELA Q. HARRIS

       Pamela Q. Harris hereby declares and affirms as follows:

       1.       I am more than 18 years of age and competent to testify, upon personal

knowledge, to the facts set forth herein.

       2.       I am the State Court Administrator for Maryland’s Administrative Office of

the Courts (“AOC”). I have held this position since 2013. I have worked for and in the

Maryland Judiciary for over 35 years. I held the position of Trial Court Administrator for

the Circuit Court for Montgomery County between 1989 and 2013.

          3. As the State Court Administrator, I provide oversight and strategic planning,

direction and monitoring of court administrative activities for all State courts. I am

responsible for Human Resources, Facilities Administration, Budget and Finance,

Procurement and Contracts Administration, Legal Affairs, Family Administration, Office
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of Problem-Solving Courts, Access to Justice Commission, Program Services Unit and

Judicial Information Systems.

       4.     As stated on its website, AOC is the central support agency for Maryland’s

judicial branch and provides a broad range of support services to Maryland’s courts

including in operations, information technology, management, financial, administration,

and programs.

       5.     To my knowledge, historically, the varying clerks’ offices for the circuit

courts of Maryland did not have a “press bin” or “press box” as described and claimed by

CNS.

       6.     To my knowledge, historically, the practice of the varying clerks’ offices for

the circuit courts of Maryland was to only provide access to newly/recently submitted civil

filings, including newly submitted civil complaints, to the public after the requested

submittal was reviewed by the respective clerk’s office and filed/docketed. This includes

any request to review a filing by the press. CNS’s contrary description is incorrect.

       7.     Maryland’s electronic case management system is Odyssey. The first time

Odyssey was implemented in any Maryland State court was in 2014. Maryland’s electronic

filing program used by attorneys and other authorized users is known as “File and Serve.”

Maryland’s Electronic Court (“MDEC”) applications include products from Tyler

Technologies, Inc. (“Tyler”). “MDEC” refers collectively to a suite of applications,

including File and Serve and Odyssey.

       8.     Tyler is used in MDEC courts to provide a computer software platform for

electronic filing of court papers/records. Unlike how CNS obtained and calculated data in


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this case, AOC and Tyler were capable of and did effectively monitor and track, with

precision, the actual data at issue in this case. AOC obtained all relevant data directly from

Tyler.

         9.    The clerks for the 24 circuit courts of Maryland and their offices do not have

any authority or control over MDEC policies and procedures. Rather, that is handled at

the AOC level. Specifically, the clerks for the 24 circuit courts of Maryland and their

offices have no ability to effectuate the change(s) CNS desires in this case. This is

especially true for the 22 clerk Defendants in this case. Instead, the authority and control

over MDEC policies and procedures rests mainly with me as the State Court Administrator.

         10.   I have been involved with the implementation of MDEC in every Maryland

circuit court in which MDEC is utilized. There is a clear learning curve for clerks and staff

in implementing and using MDEC.

         11.   The Circuit Court for Baltimore City and the Circuit Court for Prince

George’s County are the only two non-MDEC courts in Maryland and, therefore, the only

two clerks of court who are not Defendants in this suit. They continue to use a “paper

filing” system. In these two jurisdictions, newly submitted civil complaints for filing are

submitted either by mail or hand-submitted in the clerks’ offices for eventual filing and

docketing. My understanding, based on my 35+ years with the Maryland Judiciary, is that

this was the case in all circuit courts in Maryland prior to the implementation of MDEC at

each of the 22 circuit courts using MDEC.

         12.   Bill Girdner, the editor of CNS, incorrectly stated in his October 1, 2021,

letter to me that CNS’s requested “press queue” would be free to install and implement in


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MDEC. Tyler confirmed that CNS’s requested “press queue” would cost the Maryland

Judiciary and, therefore, the State and Maryland taxpayers, at least $108,000 per year, so

that CNS may have the instantaneous access it desires for its business purposes to newly

submitted civil complaints.

      13.     Prior to February 14, 2022, I had never received any communication from

CNS or anyone on behalf of CNS indicating that CNS had any concerns specific to actual

alleged “delays” in Maryland’s docketing of newly submitted civil complaints.

       14.    In response to CNS’s counsel’s February 14, 2022, letter to me, I instructed

others at and within AOC to confirm the timeliness of the filing and docketing of newly

submitted civil complaints.

       15.    In response to CNS’s counsel’s February 14, 2022, letter to me, I also

instructed others at and within AOC to investigate the possibility of implementing an

alternative to CNS’s desired “press queue” that would be less costly (or perhaps even free)

to State taxpayers and the Judiciary, as well as in compliance with the Maryland Rules of

Civil Procedure. Tyler reported that it could create and implement a new “queue” that

essentially isolates newly submitted civil complaints to be reviewed by clerks’ offices for

filing and docketing. This new “queue” was free of cost to the State. I authorized the

implementation of the new “queue,” which was effective on or about April 25, 2022, in

some MDEC circuit courts. It was later implemented in the remaining MDEC circuit courts

on or about May 3, 2022. This new queue has already had significant results in terms of

minimizing the time between newly submitted complaints and their filing/docketing.




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       16.     On or about February 15, 2022, AOC began publishing on the Maryland

Judiciary Case Search website a daily report containing a list of every new public case

created in each MDEC court each day.

       I hereby affirm, under the penalty of perjury, that the contents of the foregoing are

true and correct.



05/31/22
Date                                                    Pamela Q. Harris




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